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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

HOSSEIN SARRAMI et al.,                        *

                       Appellants,             *       Civil Action No. AW-05-1793

               v.                              *
                                                       Civil Action No. AW-05-1891
                                               *
MARYAM SADHEGI,
                                               *
                       Appellee.

                                     MEMORANDUM OPINION

       Currently pending before this Court are two Motions to Stay Pending Appeal several orders

of the United States Bankruptcy Court for the District of Maryland (the “Bankruptcy Court”). In

particular, Appellants Hossein Sarrami and F&F, Inc. (“Appellants”) contend that the Bankruptcy

Court erred when it entered a series of orders authorizing the sale of real property located in

Glendale, California (the “Property”), against which Appellants hold secured liens. Appellants also

argue that the Bankruptcy Court abused its discretion by entering an order that allows litigation with

respect to the ownership of the Property to proceed in California state court.

       As a preliminary matter, the Court notes that each Motion to Stay corresponds to a separate

appeal from the Bankruptcy Court (Case Nos. 05-cv-1793-AW and 05-cv-1891-AW), yet both

motions, and both appeals, stem from the same bankruptcy case, In re E. West LLC (Case No. 04-

31906-PM), and relate to the same set of facts and circumstances. Federal Rule of Civil Procedure

42(a) provides that “[w]hen actions involving a common question of law or fact are pending before

the court ... it may order all the actions consolidated.” Fed. R. Civ. P. 42(a). The Court finds that

common questions of law and fact exist between the 05-1793 case and the 05-1891 case; therefore,

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at the outset, the Court finds that the two appeals should be consolidated into one case.1

       With respect to the pending Motions to Stay, the Court has reviewed the pleadings and

applicable law and has determined that a hearing is unnecessary. See Local Rule 105(6). For the

reasons that follow, Appellants’ Motions to Stay Pending Appeal are denied.

I.     FACTUAL & PROCEDURAL BACKGROUND

       Prior to the initiation of the underlying bankruptcy case, rights and interests in the Property

were being contested in a divorce proceeding between the Appellee, Maryam Sadhegi (“Appellee”)

and her estranged husband, Firooz Sadhegi, which was (and apparently remains) pending in

California state court. Appellee claims that her husband is the beneficial owner of the Property and

that transfer of legal title to E. West LLC (the “Debtor”), an entity managed in part by Appellee’s

brother-in-law, was effected solely to deprive her of the opportunity to satisfy spousal and child

support claims against her husband, which are purportedly in excess of $400,000.2 Appellee also

claims that the deeds of trust held by Appellants, who are allegedly family members and business

associates of her estranged husband, are invalid. Appellee urged the California court to void the liens

held by Appellants and to transfer title and ownership of the Property to her.

       By all accounts, Appellee had reason to be pleased with the course of litigation in the

California court. After Appellee filed a lis pendens against the Property, the Debtor moved to

intervene in the litigation and have the lis pendens expunged, claiming that it interfered with a

proposed sale of the Property. Following a hearing, the California court denied the Debtor’s motion


       1
      Details concerning this consolidation can be found in the Order accompanying this
Memorandum Opinion.
       2
       According to the pleadings, Mr. Sadhegi vanished in February 2004, on the eve of a
contempt hearing in the California court, and a bench warrant for his arrest is outstanding.

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and found that Appellee had “established a valid claim to the subject property.” The California court

further noted that “[Appellee] has established that the complicated financial dealings of [the Debtor]

and various third parties . . . were on behalf of [Appellee’s husband] for the purpose of obfuscating

[Appellee’s husband’s] interest in the subject property.” After the California court denied the motion

to expunge the lis pendens, Appellant F&F, Inc., an entity owned in part by Appellee’s brother-in-

law, moved to foreclose its deed of trust on the Property. Appellee successfully obtained a temporary

restraining order preventing F&F, Inc. from foreclosing, and a hearing on Appellee’s motion for a

temporary injunction was scheduled for August 10, 2004. The hearing was continued to October 10,

2004, on account of Appellee’s brother-in-law’s illness.

       Shortly before the continued hearing date, on September 23, 2004, the Debtor filed, in the

Maryland Bankruptcy Court, a voluntary petition under Chapter 7 of the Bankruptcy Code. A

Trustee was appointed to preside over the liquidation of the Property, which was evidently the sole

asset of the bankruptcy estate. Appellants, who hold deeds of trust encumbering the Property, filed

proofs of claims on March 16, 2005, establishing that they hold liens over the Property totaling

nearly $700,000. Appellee did not file a proof of claim but her counsel appeared at the initial

creditors’ meeting. A real estate agent was retained to sell the Property, which received an initial

bid of $850,000, and ultimately sold for $965,000.

       Appellants contest three separate orders of the Bankruptcy Court. On May 3, 2005, the

Bankruptcy Court granted Appellee’s Emergency Motion to Reconsider a consent order authorizing

the sale of the Property (the “First Reconsideration Order”). The First Reconsideration Order

vacated a Sale Order which permitted the bankruptcy Trustee to liquidate the Property and

immediately satisfy the liens held by Appellants. On June 2, 2005, the Bankruptcy Court entered a


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second order (the “Second Reconsideration Order”) which reinstated the Sale Order, but directed

that the proceeds of the sale be held in escrow pending a final determination of the parties’ rights

and interests with respect to the Property. On June 13, 2005, the Bankruptcy Court entered an order

granting relief from automatic stay (the “Lift Stay Order”), freeing the California court presiding

over Appellee’s divorce proceeding to adjudicate ownership of the Property as well. Given that the

sale of the Property has already taken place, the cumulative effect of the three orders is to hold the

proceeds of the sale in stasis until the California court determines whether Appellee has any genuine

interest in the Property, and, if so, how her interest might affect the validity of Appellants’ liens.

II.    ANALYSIS

       The standard for granting a stay from an order of the bankruptcy court mirrors the well-

known test for determining whether to issue a preliminary injunction or a temporary restraining

order. See Quarles v. Miller, 193 B.R. 779, 782 n.5 (W.D. Va. 1996). Pursuant to the Fourth

Circuit’s holding Blackwelder Furniture Co. v. Seilig Mfg. Co., 550 F.2d 189, 195 (4th Cir. 1977),

the movant bears the burden of establishing each of the following: (1) irreparable injury absent the

stay; (2) an absence of substantial injury to other parties; (3) a likelihood of success on the merits;

and (4) the granting of a stay would be in the interest of the public. Id.

       Under this hardship balancing test, “the first two factors regarding the likelihood of

irreparable harm to the plaintiff if denied and of harm to the defendant if granted are the most

important.” Manning v. Hunt, 119 F.3d 254, 263 (4th Cir. 1997) (internal citations omitted); see In

re Microsoft Corp. Antitrust Litig., 333 F.3d 517, 526 (4th Cir. 2003) (“[e]mphasis on the balance

of these first two factors results in a sliding scale that demands less of a showing of likelihood of

success on the merits when the balance of hardships weighs strongly in favor of the plaintiff, and


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vice versa.”). As such, “the first task of the district court is to determine the harm that will be

suffered by the plaintiff if no preliminary injunction is entered.” Id. The harm demonstrated by the

plaintiff must be “neither remote nor speculative, but actual and imminent.” Id. (internal citations

omitted). The district court must then balance this harm against the harm that the defendant would

suffer if the preliminary injunction is granted. Id.

       First, the Court finds that Appellants have failed to demonstrate that they will suffer

irreparable harm if the relief they seek is denied. Appellants argue that the Bankruptcy Court’s

orders irreparably injure the purchasers of the Property, because their claim to the title may be called

into question if the California state court finds that the Trustee lacked proper ownership sufficient

to sell the Property. The Court is unpersuaded by this argument. Not only is Appellants’ claim

highly speculative, but it sets forth a scenario in which the alleged harm would befall a third party,

rather than Appellants themselves. The purchasers of the Property are not participants to this action,

and it is not apparent that they will suffer any injury even if the California court rules in Appellee’s

favor. The proceeds of the sale of the Property could be redistributed without upsetting the

underlying transaction, leaving title to the property, free and clear of all liens and encumbrances,

resting in the purchasers’ hands. In any case, this Court is reluctant to grant a stay on the basis of

speculative harm that might inure to the detriment of a nonparty.

       Appellants also contend that, under Section 363(f) of the Bankruptcy Code, they had an

absolute right to object to the sale of the Property and that their consent to the transfer was

dependent on provisions in the Sale Order guaranteeing that their liens would be satisfied

immediately following the transaction. Those provisions were vacated by the First and Second

Reconsideration Orders.


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        Section 363(f) of the Bankruptcy Code provides:

                 The trustee may sell property under subsection (b) or (c) of this
                 section free and clear of any interest in such property of an entity
                 other than the estate, only if —

                 (1) applicable nonbankruptcy law permits sale of such property free
                 and clear of such interest;

                 (2) such entity consents;

                 (3) such interest is a lien and the price at which the property is to be
                 sold is greater than the aggregate value of all liens on such property;

                 (4) such interest is in bona fide dispute; or

                 (5) such entity could be compelled, in a legal or equitable proceeding,
                 to accept a money satisfaction of such interest.

11 U.S.C. § 363(f). Appellants argue that the Bankruptcy Court’s orders deprived them of their right

to object to the sale under Section 363(f)(2). First, assuming arguendo that Appellants were injured

by an inability to withdraw their consent under Section 363(f)(2), the Court notes that Appellants

have made out a retrospective, rather than prospective, harm. Granting Appellants’ motions to stay

will not bring back their right to object unless the sale itself is vacated, an action that neither party

has advocated.

        Second, as noted by Appellee, the Trustee was entitled to proceed with the sale without

Appellants’ consent, because their interest in the Property was in “bona fide dispute” under Section

363(f)(4). A “bona fide dispute” exists when “there is an objective basis for either a factual or legal

dispute as to the validity of the asserted interest.” In re Taylor, 198 B.R. 142, 162 (Bankr. D.S.C.

1996). This standard “does not require that the Court resolve the underlying dispute or determine

the probable outcome of the dispute, but merely whether one exists.” Id. (citing In re Collins, 180

B.R. 447, 452 (Bankr. E.D. Va. 1995) and In re Octagon Roofing, 123 B.R. 583, 590 (Bankr. N.D.

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Ill. 1991)). “Although courts have not agreed on a precise definition of ‘bona fide dispute,’ it clearly

entails some sort of meritorious, existing conflict.” In re Atlas Machine & Iron Works v. Bethlehem

Steel, 986 F.2d 709, 715 (4th Cir. 1993).

        It is clear that a “meritorious conflict” exists regarding the ownership of the Property and the

validity of Appellants’ liens. The California state court found that Appellee has “established a valid

claim to the subject property.” Based upon the record before us, this Court is not in a position to rule

to the contrary. Because of the “bona fide dispute” over the ownership of the Property, Appellants’

right to object under Section 363(f)(2) was merely illusory, and Appellants suffered no irreparable

injury when the Bankruptcy Court effectively denied them that “right.”

        Additionally, the Court finds that the likelihood of harm to Appellee is not insignificant. If

Appellants’ motions are granted, Apellee’s long-running efforts to reach a final determination as to

the ownership of the Property will be further delayed. Furthermore, if the original Sale Order is

reinstated and Appellants’ liens are satisfied, Appellee’s options for recovery of spousal and child

support claims will be severely curtailed, as the bulk of the proceeds from the sale of the Property

will be distributed prior to the California court’s ruling on the merits of her support claims. The

interests of all the parties are best protected by preserving the proceeds of the sale until their

respective rights to the Property can be resolved.

        Finally, the Court does not believe that the remaining factors counsel the imposition of a

stay; Appellants have not shown such a strong likelihood of success on the merits or a such a serious

public interest so as to overwhelm Appellants’ failure to demonstrate irreparable harm. Indeed, the

public interest is best served by allowing a California state court applying California property and

domestic relations law to resolve this dispute. This Court is in agreement with Bankruptcy Judge


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Mannes, who stated in his Memorandum Opinion that “the proper venue for this intra-family dispute

is in California, the situs of the marriage and the situs of the real property.”



III.   CONCLUSION

       For all of the aforementioned reasons, this Court will deny Appellants’ Motions to Stay

Pending Appeal. An Order consistent with this Opinion shall follow.



November 7, 2005                                                      /s/
Date                                                   Alexander Williams, Jr.
                                                       United States District Judge




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